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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION

JAMES M. YOCOM,

              Plaintiff,

v.                                             Case No.: 3:05cv20/MCR/EMT

JO ANNE B. BARNHART,
Commissioner of Social Security,

              Defendant.
                                      /

                                          ORDER

       This cause comes on for consideration upon the magistrate judge’s report and
recommendation dated April 12, 2005. Plaintiff has been furnished a copy of the report
and recommendation and has been afforded an opportunity to file objections pursuant to
Title 28, United States Code, Section 636(b)(1). I have made a de novo determination of
any timely filed objections.
       Having considered the report and recommendation, and any objections thereto
timely filed, I have determined that the report and recommendation should be adopted.
       Accordingly, it is now ORDERED as follows:
       1.     The magistrate judge’s report and recommendation is adopted and
incorporated by reference in this order.
       2.     The Commissioner’s motion to remand (Doc. 4) is GRANTED.
       3.     This cause is REMANDED to the Commissioner of the Social Security
Administration pursuant to sentence six of 42 U.S.C. §405(g) for further administrative
proceedings. As the court retains jurisdiction of this case during the period of remand,
judgment should not be entered at this time.
       4.     The Commissioner is required to advise the court of the status of these
proceedings on July 1, 2005, and every thirty days thereafter.
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        5.      The file shall be returned to the magistrate judge upon the Commissioner’s
filing the first status report and every status report thereafter.
        DONE AND ORDERED this 16th day of May, 2005.




                                             s/   M. Casey Rodgers
                                            M. CASEY RODGERS
                                            UNITED STATES DISTRICT JUDGE




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